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IN THE UNITED sTATEs DIsTRIcT coURT F"'ED W ~ D'C-
FoR THE wEsTERN DIsTRIcT oF TENNESSEE

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HOEEHTEB DiTHOUC
CL[€PK U.E`. D!ST. CT.

RENITA MALONE, W.D OF TN MEMPHIS

Plaintiff,
SHELBY COUNTY GOVERNMENT ,

SHELBY COUNTY SHERIFF
DEPARTMENT, and SHIRLEY MARCUM,

\-I\-IVVV\_F‘_F`I

v\-.¢"-’

Defendants.

 

ORDER GRANTING JOINT MOTION TO MODIFY RULE 16(B} SCHEDULING ORDER
AND CONTINUE TRIAL

 

Before the Court is the Joint Motion to Modify Rule l6(b)
Scheduling Order and Continue Trial, filed May 27, 2005. Good
cause having been shown, the Court GRANTS the motion. The Court
MODIFIES the Rule l@(b) Scheduling Order and RESETS the trial
dates as follows:

~ The amending pleadings/joining parties deadline shall

be reset to July 31, 2005

» The discovery deadline shall be reset to August 31c
2005
~ The dispositive motion deadline shall be reset to

September 30, 2005
- The Jury trial in this matter is set to hegin: Monda};l
December 5, 2005, at 9:30 a.m.

- A pretrial conference is set for Tuesdav, November 29,

This document entered on the docket sheet in compliance
with sure 53 and/or 79(3; FHcP on - '»5

 

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2005, at 9:00 a.m.

o The pretrial order and proposed jury instructions and
voir dire questions are due by no later than 4:30 p.m.
on Tuesdav, November 22, 2005.

Absent good cause, the dates established by this order shall

not be extended or modified.

IT IS SO ORDERED this\~_j5 day of June, 2005.

Q mlin

JON P. MCCALLA
UN TED STATES DISTRICT JUDGE

    
 

 

 

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This notice confirms a copy cf the document docketed as number 34 in
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ESSEE

 

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Honorable J on McCalla
US DISTRICT COURT

